          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:01cr178-02


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                   ORDER
                          )
                          )
TERRY LAMONT HUNTLEY.     )
                          )



      THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) [Doc. 707], filed

March 14, 2008, and the Government’s Motion for Extension of Time [Doc.

204], filed April 15, 2008.

      The Probation Office has completed a Supplement to the

Presentence Report Pursuant to Crack Cocaine Guideline Amendment

[Doc. 202, filed April 11, 2008], and has determined that the Defendant has

served the time to which he would have been sentenced pursuant to the

amendment. The Government, whose response is due this date, requests

a fourteen day extension of time within which to respond. In view of the

supplemental report, the Court will grant a two day extension.



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     IT IS, THEREFORE, ORDERED that the Government shall file its

response, if any, to the Defendant’s Motion on or before April 17, 2008.




                                     Signed: April 15, 2008




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